                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA

IN RE:                                        )

JACQUELINE ESTY,                              )      Case Number: 17-33383

         Debtor.                              )      Chapter 13


JACQUELINE ESTY,                              )

         Plaintiff,                           )

v.                                            )      Adversary Proceeding Number

NATIONSTAR MORTGAGE, LLC, dba )
MR. COOPER, and ALBERTELLI
LAW,                          )

         Defendants.                          )

                                          COMPLAINT

         COMES NOW Plaintiff, Jacqueline Esty (hereinafter “Plaintiff”), by and through

undersigned counsel, and presents this complaint for damages and injunctive relief against

Defendants, Nationstar Mortgage, LLC, dba Mr. Cooper, (“Defendant Mr. Cooper”) and

Albertelli Law (“Defendant Albertelli”) (collectively “Defendants”), and for their violation(s)

of the automatic stay provisions of 11 U.S.C. §362(a), contempt of court, and/or of the

provisions of 15 U.S.C. §1692, et seq., as is applicable to said Defendants, stating as follows:

                                        INTRODUCTION

         1.      Plaintiff seeks declaratory and monetary relief as a result of Defendants’

concerted, continuing and unlawful collection efforts during the pendency of the underlying


                                           Page 1 of 17


     Case 20-03003      Doc 1    Filed 01/27/20 Entered 01/27/20 08:47:45          Desc Main
                                   Document     Page 1 of 17
bankruptcy case and continue through the present time. Plaintiff seeks such relief by and

through 11 U.S.C. §§362(a) and 15 U.S.C. §1692, et seq. as is applicable.

         2.    Plaintiff seeks actual, compensatory, and punitive damages, as appropriate, for

Defendants’ violation(s) of 11 U.S.C. §362(a), contempt of court, and/or of the provisions of

15 U.S.C. §1692, et seq., as is applicable to said Defendants. Further, Plaintiff seeks attorney

fees, costs and expenses of this action pursuant to 11 U.S.C. §362(k).

                                        JURISDICTION

         3.    Pursuant to 28 U.S.C. §§157, 1331 and 1334, this Honorable Court has

jurisdiction over the core claims within this proceeding. To the extent this proceeding

addresses non-core claims, Plaintiff consents to the entry of a Final Order by this Honorable

Court.

         4.    Venue is proper in the United States Bankruptcy Court for the Middle District

of Alabama pursuant to 28 U.S.C. §§1391 and 1409 since the claims arise from a bankruptcy

proceeding in this District, all or a substantial part of the events or omissions giving rise to

this claim occurred in this District, and the Defendants are subject to the jurisdiction of this

Honorable Court.

                                            PARTIES

         5.    Plaintiff, Jacqueline Esty, is a natural person, resides within the geographical

area encompassed by the jurisdiction of the United States District Court for the Middle

District of Alabama, and is a debtor in the underlying Bankruptcy Proceeding.




                                           Page 2 of 17


  Case 20-03003        Doc 1    Filed 01/27/20 Entered 01/27/20 08:47:45            Desc Main
                                  Document     Page 2 of 17
       6.     Defendant, Nationstar Mortgage, LLC, dba Mr. Cooper, is a Foreign

Corporation, has a principal place of business at 8950 Cypress Waters Boulevard, Coppell,

TX 75019, and is engaged in the business of financing mortgage loans and buying and/or

collecting debts owed or alleged to be owed by consumers. Defendant Mr. Cooper is a

“creditor” pursuant to the definition provided within 15 U.S.C. §1692(a)(4).

       7.     Defendant, Albertelli Law, is a corporation organized under the laws of the

State of Alabama, has a principal place of business at 5404 Cypress Center Drive, Suite 300,

Tampa, FL 33609, and is real estate law firm. Defendant Albertelli is a “debt collector”

pursuant to the definition provided within 15 U.S.C. §1692(a)(6).

                                FACTUAL ALLEGATIONS

       8.     Plaintiff incorporates herein by reference each of the foregoing paragraphs.

       9.     On November 21, 2017, Plaintiff filed a Voluntary Petition (hereinafter, “the

Petition”) under Chapter 13, Title II, of the United States Code, more specifically identified

by Case Number 17-33383 in the United States Bankruptcy Court for the Middle District of

Alabama.

       10.    As a result of said filing, relief pursuant to the automatic stay provisions of 11

U.S.C. §362(a) was granted to Plaintiff.

       11.    Within Schedule D of the Petition filed in the underlying Bankruptcy

Proceeding, Plaintiff identified Defendant Mr. Cooper as the holder of a secured claim

related to a mortgage executed by Plaintiff on property located at 4001Pickfair Street,

Montgomery, AL 36116.



                                           Page 3 of 17


  Case 20-03003       Doc 1    Filed 01/27/20 Entered 01/27/20 08:47:45           Desc Main
                                 Document     Page 3 of 17
       12.     On December 27, 2018, Defendant Mr. Cooper filed its Proof of Claim #8

wherein it claims an indebtedness from Plaintiff in the amount of $81,323.14, including

arrears in the amount of $4,639.43.

       13.     Plaintiff’s Chapter 13 Plan (hereinafter “Plan”) filed in the underlying

Bankruptcy Proceeding provides for pre-petition arrearage owed to Defendant Mr. Cooper to

be paid through the Plan with post-petition payments to Defendant Mr. Cooper to be paid

directly by Plaintiff.

       14.     On March 8, 2019, Defendant Mr. Cooper, through their attorney, Rubin

Lublin, LLC, (Defendant Mr. Cooper’s Bankruptcy Counsel) filed a Motion for Relief from

Automatic Stay and Co-debtor Stay (Real Property) due to Plaintiff’s failure to make post-

petition payments to Defendant Mr. Cooper. On April 22, 2019, Agreed Order Conditionally

Denying Motion for Relief from the Automatic Stay (“Order”) was entered by Judge Bess M.

Parrish Crewel. Pursuant to the Order, Plaintiff was to resume making her payment to

Defendant Mr. Cooper beginning with her April 2019 payment. Per the Order, should

Plaintiff fail to maintain her payments, “the Motion for Relief from Stay is granted if the

Movant gives the Debtor, and the Debtor`s attorney twenty (20) days written notice of

opportunity to cure. If the default is not cured within twenty (20) days from the date the

notice is issued, then the stay shall lift without further order of the Court.”

       15.     On July 25, 2019, Defendant Mr. Cooper’s Bankruptcy Counsel mailed a

notice of default to Plaintiff and Plaintiff’s Bankruptcy Counsel pursuant to the Order entered

April 22, 2019, stating Plaintiff was due for her June 2019 and July 2019 payments in the


                                           Page 4 of 17


  Case 20-03003          Doc 1   Filed 01/27/20 Entered 01/27/20 08:47:45         Desc Main
                                   Document     Page 4 of 17
amount of $1,271.66, less $606.34 suspense balance credit, for a grand total due of $665.32.

       16.    On August 22, 2019, Defendant Mr. Cooper’s Bankruptcy Counsel filed a

Notice of Termination of Automatic Stay advising the Bankruptcy Court that a notice of

default was issued pursuant to the April 22, 2019, Order and “Since issuance of the Notice,

the delinquency has nor been cured and the loan remains in default. As such, the automatic

stay is terminated against the property now or formerly known as: 4001 PICKFAIR

STREET, MONTGOMERY, AL 36116.”

       17.    After receipt of the Notice of Termination of Automatic Stay, Plaintiff’s

Bankruptcy Counsel contacted her to discuss the matter. Plaintiff advised that she made all

the payments. She did not receive a notice of default, but all payments to Defendant Mr.

Cooper. Plaintiff was instructed by her Bankruptcy Counsel to get together proof of all

payments she made and bring them to the office.

       18.    On July 31, 2019, six days after the Notice of Default was issued, Plaintiff

made a payment of $637.00. On August 30, 2019, Plaintiff made another payment to

Defendant Mr. Cooper in the amount of $637.00 for her August 2019 payment. Defendant

Mr. Cooper accepted both payments. However, the payment made on July 31, 2019, that was

received by Defendant Mr. Cooper before the expiration of the 20 days was $28.32 short.

       19.    Plaintiff was not aware that she was only $28.32 short of the $665.32 needed

to cure the default when she made the payment on July 31, 2019, and states had she realized

she was short such a small amount, she would have certainly remitted that amount to

Defendant Mr. Cooper before the expiration of the 20 days.


                                        Page 5 of 17


  Case 20-03003      Doc 1    Filed 01/27/20 Entered 01/27/20 08:47:45          Desc Main
                                Document     Page 5 of 17
       20.    On October 1, 2019, Plaintiff mailed two separate cashier’s checks to

Defendant Mr. Cooper, one in the amount of $32.00 to cure the small shortage owed to cure

the default and the other in the amount of $637.00 for her September 2019 mortgage

payment.

       21.    On October 2, 2019, Plaintiff, through her Bankruptcy Counsel, filed a Motion

to Determine the Status of Mortgage and a copy of the motion was served on Defendant Mr.

Cooper and their Bankruptcy Counsel, Rubin Lublin, LLC. A hearing on the motion was

scheduled for October 17, 2019.

       22.    After the filing of the Motion to Determine the Status of the Mortgage,

Plaintiff’s Bankruptcy Counsel and Bankruptcy Counsel for Defendant Mr. Cooper

exchanged correspondence via email regarding a settlement of the matter. The hearing that

was set for October 17, 2019, was continued to allow additional time for the matter to be

resolved.

       23.    On or around October 22, 2019, Plaintiff mailed her October 2019 payment in

the amount of $637.00 to Defendant Mr. Cooper.

       24.    During this time, Defendant Mr. Cooper returned the two payments Plaintiff

sent on October 1, 2019 in the amount of $32.00 and $637.00, respectively, and the payment

Plaintiff sent on or around October 22, 2019, back to Plaintiff.

       25.    On November 14, 2019, a hearing was held before this Honorable Court, at

which time neither Defendant Mr. Cooper nor their Bankruptcy Counsel appeared at the

hearing. The Court reviewed the motion filed by Plaintiff’s Bankruptcy Counsel and was


                                         Page 6 of 17


  Case 20-03003       Doc 1    Filed 01/27/20 Entered 01/27/20 08:47:45         Desc Main
                                 Document     Page 6 of 17
informed by said Counsel that Plaintiff paid the small oversight amount to Defendant Mr.

Cooper when she realized the error.

       26.        On December 3, 2019, Judge William R. Sawyer entered an Order on Debtor’s

Motion to Determine Status of Mortgage ordering as follows:

                  “1.    The default stated in the July 25, 2019, Notice of Default filed by
                         Nationstar Mortgage, LLC, dba Mr. Cooper, is cured.

                  2.     The automatic stay against the property located at 4001 Pickfair Street,
                         Montgomery, AL 36116, is still in effect.

                  3.     Any future default by the Debtor will require an new Notice of Default
                         to be filed by Nationstar Mortgage, LLC, dba Mr. Cooper, in
                         accordance with the Court’s Order entered on April 22, 2019, (CRT
                         Doc #32).”

       27.        Prior to the Order being entered on December 3, 2019, and after, Plaintiff’s

Bankruptcy Counsel and Bankruptcy Counsel for Defendant Mr. Cooper continued to

communicate via email correspondence regarding the matter. On November 27, 2019,

Defendant Mr. Cooper’s Bankruptcy Counsel advised that all payments Plaintiff had that

were returned to her by Defendant Mr. Cooper, were to be sent to their office at an address

they provided “...so they do not get turned away. Once the Order is entered, we will forward

to our client.”

       28         Before the hearing set for November 14, 2019, Plaintiff received a letter

Defendant Albertelli dated November 12, 2019, providing a breakdown of the principal

balance, interest through November 12, 2019, late fees, lender paid expenses, escrow

advances, corporate advances and outstanding attorney’s fees & costs allegedly owed by

Plaintiff. The letter further states as follows:

                                            Page 7 of 17


  Case 20-03003          Doc 1    Filed 01/27/20 Entered 01/27/20 08:47:45          Desc Main
                                    Document     Page 7 of 17
         “Albertelli Law represents Nationstar Mortgage LLC d/b/a Mr. Cooper, the
         creditor and servicer of a loan related to the property at 4001 Pickfair Street,
         Montgomery, AL 36116 and this communication is governed by the Fair Debt
         Collection Practices Act "FDCPA", 15 USCS §§ 1692 et seq. As of today's
         date, our records indicate that based upon the terms of the Promissory Note
         and Mortgage associated with this loan, you owe the Total Claim amount listed
         above. An itemization of the unpaid balance, unliquidated damages and other
         contractual costs are provided above. Also, the terms of the Promissory Note
         and Mortgage also entitle the creditor to recover attorney's fee and costs which
         is the Outstanding Attorney's Fees & Costs listed above. Per the FDCPA:

         IF, WITHIN THIRTY (30) DAYS AFTER YOU RECEIVE THIS NOTICE,
         YOU NOTIFY US, AS STATED ABOVE, THAT THE DEBT, OR ANY
         PORTION THEREOF, IS DISPUTED AND/OR THAT YOU REQUEST,
         VALIDATION AND/OR THE NAME AND ADDRESS OF THE
         ORIGINAL CREDITOR, THE FAIR DEBT COLLECTION PRACTICES
         ACT REQUIRES US TO CEASE OUR COLLECTION EFFORTS, EVEN IF
         WE HAVE ALREADY FILED THE LAWSUIT, UNTIL WE MAIL YOU
         INFORMATION VALIDATING THE DEBT AND/OR UNTIL WE
         PROVIDE YOU WITH THE NAME AND ADDRESS OF THE ORIGINAL
         CREDITOR.

         All correspondence with our firm should be directed to the following address:
         Albertelli Law, One Independence Plaza, Suite 416, Birmingham, AL
         35209

         IF YOU ARE CURRENTLY PURSUING LOSS MITIGATION WITH
         THE CREDITOR OR A DEBTOR IN BANKRUPTCY:

         Please be advised that if you are currently pursuing loss mitigation with the
         creditor, or a debtor in bankruptcy or have been discharged in bankruptcy, this
         letter is provided to you for informational purposes to notify you of our Firm's
         legal retention. You should consult legal counsel regarding your obligations, if
         any, to pay the mortgage loan. If you previously received a discharge in a
         bankruptcy case involving this loan and did not sign a reaffirmation agreement,
         then this letter is not an attempt to collect a debt from you personally. This law
         firm is seeking solely to foreclose the creditor's lien on real estate and this law
         firm will not be seeking a personal money judgment against you.

         Sincerely,

         Albertelli Law

                                    Page 8 of 17


Case 20-03003   Doc 1     Filed 01/27/20 Entered 01/27/20 08:47:45           Desc Main
                            Document     Page 8 of 17
               THIS COMMUNICATION IS FROM A DEBT COLLECTOR. THIS IS
               AN ATTEMPT TO COLLECT A DEBT. ANY INFORMATION
               OBTAINED WILL BE USED FOR THAT PURPOSE.”

       29.     On December 11, 2019, after the Order on Debtor’s Motion to Determine the

Status of Mortgage was entered, Plaintiff’s Bankruptcy Counsel mailed two separate letters.

The first letter was sent to Defendant Mr. Cooper’s Bankruptcy Counsel, Rubin Lublin, LLC,

(per their instructions) via certified mail with a copy of Judge Sawyer’s December 3rd Order,

as well as four cashier’s checks (three of which had previously been returned by Defendant

Mr. Cooper) which represented Plaintiff’s September 2019, October 2019 and November

2019 mortgage payments to Defendant Mr. Cooper as well as the shortage amount to cure the

default. The letter further reiterated Judge Sawyer’s Order that the notice of default filed on

July 25, 2019, is cured and the automatic stay is still in effect. Also, that Plaintiff was due for

her December 2019 payment.

       30.     The second letter sent on December 11, 2019, was to Defendant Albertelli

acknowledging their November 12, 2019, letter and advising them of the filing of the motion

to determine the status of Plaintiff’s mortgage as well as a copy of Judge Sawyer’s December

3, 2019, Order that the “default in her payments was cured and the automatic stay against the

property located at 4001 Pickfair Street, Montgomery, AL 36116, is still in effect.” Also

provided was a copy of the December 3rd Order for their records. The letter to Defendant

Albertelli was sent via first class mail and facsimile to the address and fax number listed in

their November 12, 2019, letter.




                                          Page 9 of 17


  Case 20-03003        Doc 1    Filed 01/27/20 Entered 01/27/20 08:47:45            Desc Main
                                  Document     Page 9 of 17
       31.    On or about December 16, 2019, Plaintiff tried to call Defendant Mr. Cooper

to make her December 2019 payment but was advised by a representative that she was behind

and still owes a large balance and the payment would not be accepted. To avoid any

additional delay, Plaintiff purchased a cashier’s check in the amount of $637.00 and on

December 17, 2019, mailed it to Defendant Mr. Cooper.

       32.    On December 30, 2019, Plaintiff advised her Bankruptcy Counsel that she

received notice that there was a certified letter from Defendant Albertelli but she had not

picked it up yet and would the next day.

       33.    On December 31, 2019, Plaintiff picked up the certificate mail from Defendant

Albertelli from the post office and brought it to her Bankruptcy Counsel’s office as well as a

statement she received from Defendant Mr. Cooper.

       34.    The certified letter from Defendant Albertelli was dated December 16, 2019,

and stated the following:

              “Please be advised the undersigned represents Nationstar Mortgage LLC d/b/a
              Mr. Cooper, who has retained Albertelli Law to initiate foreclosure
              proceedings in regard to the properly located at 4001 Pickfair Street,
              Montgomery, AL 36116.

              If you wish to reinstate your loan, please call our office and we will provide
              you with the amount necessary to do so which will include all past due
              payments due to your lender, late charges, and any other amounts provided to
              us by the lender as well as all applicable foreclosure fees and costs. All funds
              should be made payable to your lender via a certified check or money order
              only. Please do not send a personal check or non-certified funds as they will be
              returned to you and the sale will proceed as scheduled. Funds should be
              received by our office at One Independence Plaza, Suite 416, Birmingham, AL
              35209. To ensure timely receipt of reinstatement funds, we request that all
              funds be received in our office no later than 48 hours prior to the scheduled
              sale date. DO NOT send funds directly to your lender as doing so will delay

                                           Page 10 of 17


  Case 20-03003       Doc 1    Filed 01/27/20 Entered 01/27/20 08:47:45           Desc Main
                                Document     Page 10 of 17
              any cancellation of the sale. Please call our office to verify the reinstatement
              amount prior to sending or delivering said funds to ensure the accuracy of the
              amount due on the date that you wish to reinstate.

              Failure to reinstate or payoff the property will result in this office
              proceeding with the foreclosure sale currently set for 01/27/2020.

              Alabama law gives some persons who have an interest in property the right to
              redeem the property under certain circumstances. Programs may also exist that
              help persons avoid or delay the foreclosure process. An attorney should be
              consulted to help you understand these rights and programs as a part of the
              foreclosure process.

              If you have any questions, or need additional information, please do not
              hesitate to call.

              Sincerely yours,

              Albertelli Law

              Enclosure; Notice of Sale

              THIS IS AN ATTEMPT TO COLLECT A DEBT. ANY INFORMATION
              OBTAINED WILL BE USED FOR THAT PURPOSE.”

       35.    The statement from Defendant Mr. Cooper was dated December 18, 2019, and

reflected a total amount due of $8,152.03. According to the statement, the total amount due

included past due payments as well we Plaintiff’s January 2020 mortgage payment.

       36.    On or around January 6, 2020, Plaintiff brought by another package she

received, this time from Defendant Mr. Cooper, wherein was a letter dated December 31,

2019, with the subject line “SUBJECT: Returning funds-Unacceptable Payment Amount”,

all payments previously sent to Defendant Mr. Cooper (10/01/19 for $32.00 {shortage owed

from default}, 10/01/19 for $637.00 {September 2019 payment}, 10/16/19 $637.00 {October

2019 payment}, 11/15/19 {November 2019 payment} and 12/17/19 {December 2019

                                        Page 11 of 17


  Case 20-03003      Doc 1       Filed 01/27/20 Entered 01/27/20 08:47:45        Desc Main
                                  Document     Page 11 of 17
payment}, and stated the following:

              “At Mr. Cooper, we strive to keep our customers informed on matters relating
              to their loans.

              We recently received a payment on your behalf in the amount of $2,580.00.
              We are returning these funds as they are insufficient to bring your account
              current.

              As of the date of this letter, the total amount required to bring this account
              current is $8,570.55. Account statuses are subject to change. Please contact us
              for up-to-date account information and amounts owed.

              If you have any questions, please contact your Assigned Foreclosure
              Prevention Specialist Shaneta Jenkins at 9723168094 and ext 3168094
              Monday through Thursday from 7 a.m. to 8 p.m. (CT), Friday from 7 a.m. to 7
              p.m. (CT) and Saturday from 8 a.m. to 12 p.m. (CT) or via mail at the above
              listed mailing address. You can also visit us online at www.mrcooper.com for
              more information.

              Sincerely,

              Mr. Cooper

              Customer Service Department

              Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar
              Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
              Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC.
              All rights reserved.

              Nationstar Mortgage LLC d/b/a Mr. Cooper is a debt collector. This is an
              attempt to collect a debt and any information obtained will be used for
              that purpose. However, if you are currently in bankruptcy or have
              received a discharge in bankruptcy, this communication is not an attempt
              to collect a debt from you personally to the extent that it is included in
              your bankruptcy or has been discharged, but is provided for
              informational purposes only.

              If you are a successor in interest (received the property from a relative through
              death, devise, or divorce, and you are not a borrower on the loan) that has not
              assumed, or otherwise become obligated on the debt, this communication is for

                                        Page 12 of 17


  Case 20-03003      Doc 1    Filed 01/27/20 Entered 01/27/20 08:47:45          Desc Main
                               Document     Page 12 of 17
                 informational purposes only and is not an attempt to collect a debt from you
                 personally.”

        37.      Four of the above payments included in Defendant Mr. Cooper’s letter dated

December 31, 2019, were sent to Defendant Mr. Cooper directly by their Bankruptcy

Counsel, Rubin Lublin, LLC, after Plaintiff sent the payments to Rubin Lublin, LLC, per

their request, when Defendant Mr. Cooper continued to return the payments to Plaintiff.

        38.      As of today’s date, January 27, 2020, Plaintiff has received no notice that the

foreclosure set today, January 27, 2020, has been cancelled. Additionally, Plaintiff has

received no notice from either Defendant that the account is current.

        39.      Defendants both violated 11 U.S.C. §362(a) by engaging in post-petition

efforts to collect a balance in the absence of an order modifying, terminating or granting

relief from the automatic stay and/or in violation of an order that the automatic stay was still

in effect at the time of their actions, for making threats of foreclosure and making direct

contact with Plaintiff while the automatic stay was still in effect. Defendant Albertelli never

removed the property from the estate by seeking court approval to terminate the stay under

§362(d) in order to recover the estate property serving as their collateral.

        40.      Defendants violated 11 U.S.C. §362(a)(3) which prohibits “any act to obtain

possession of property of the estate or of property from the estate or to exercise control over

property of the estate ...”

        41.      Defendants violated 11 U.S.C. §362(a)(6) which prohibits “any act to collect,

assess, or recover a claim against the debtor that arose before the commencement of the case

under this title ....”

                                           Page 13 of 17


   Case 20-03003         Doc 1   Filed 01/27/20 Entered 01/27/20 08:47:45           Desc Main
                                  Document     Page 13 of 17
       42.      Defendants engaged in the aforesaid collection activities with knowledge of

the underlying bankruptcy proceeding and in the absence of an order modifying, terminating

or granting relief from the automatic stay of 11 U.S.C. §362(a).

                     WILLFUL VIOLATIONS OF 11 U.S.C. §§362(a)

       43.      Plaintiff incorporates herein by reference each of the foregoing paragraphs.

       44.      Defendants violated one or more provisions of 11 U.S.C. §362(a) as stated

herein above.

       45.      Specifically, with actual knowledge of the underlying bankruptcy proceeding

and in the absence of an order modifying, terminating or granting relief from the automatic

stay, and/or in violation of an order that the automatic stay was still in effect at the time of

their actions, Defendants engaged in post-petition activities to collect monies from Plaintiff.

       46.      Because of Defendants’ indisputable knowledge of the underlying bankruptcy

proceeding, Defendants undertook such violative collection actions intentionally and

willfully.

       47.      As a direct and proximate result of Defendants’ violations of the various

provisions of 11 U.S.C. §362(a), Plaintiff has suffered damages including, but not limited to,

embarrassment, anger, anxiety, stress, loss of the protections afforded by the automatic stay,

and has been caused to employ the services of the undersigned counsel to assist with

prosecution of this matter.

       48.      Because of Defendants’ actions described herein above, Plaintiff was forced to

retain counsel to prosecute this claim. 11 U.S.C. 362(k) provides that any individual injured



                                          Page 14 of 17


  Case 20-03003        Doc 1    Filed 01/27/20 Entered 01/27/20 08:47:45             Desc Main
                                 Document     Page 14 of 17
by a Defendant(s) willful violation shall recover attorney fees, costs, and in certain

circumstances, punitive damages.

                             COUNT II - CONTEMPT OF COURT

       49.     Plaintiff incorporates herein by reference each of the foregoing paragraphs.

       50.     Defendants were fully aware of this Honorable Court’s Order on Debtor’s

Motion to Determine Status of Mortgage entered on December 3, 2019.

       51.     Defendants intentionally violated an order by failing or refusing to comply

with the Court Order dated December 3, 2019, to respond to any communications made by

Plaintiff’s Bankruptcy Counsel, and engaging in acts directed at continuing to violate the

Court Order.

       52.     As a direct and proximate result of Defendants’ violation(s), Plaintiff has

suffered damages including, but not limited to, anger, anxiety, stress, humiliation, loss of the

protections afforded by the automatic stay, and has been caused to employ the services of the

undersigned counsel to assist with prosecution of this matter.

                    COUNT III - VIOLATIONS OF 15 U.S.C. § 1692, et seq.

       53.     Plaintiff incorporates by reference herein each of the foregoing paragraphs.

       54.     Defendants violated 15 U.S.C. § 1692, et seq., the Fair Debt Collection

Practices Act, by, to wit:

               a.       Using unfair or unconscionable means to collect or attempt to collect a
                        debt, in violation of 15 U.S.C. § 1692f;
               b.       Attempting to collect a debt not legally owed, using false and/or
                        misleading representations, in violation of 15 U.S.C. §§1692e(2) and
                        e(10); and



                                          Page 15 of 17


  Case 20-03003         Doc 1    Filed 01/27/20 Entered 01/27/20 08:47:45         Desc Main
                                  Document     Page 15 of 17
               c.      Taking illegal actions against Plaintiff in violation of 15 U.S.C. §
                       1692f(1).

       55.     As a direct and proximate result of Defendants’ violation(s), Plaintiff has

suffered damages including, but not limited to, anger, anxiety, stress, humiliation, loss of the

protections afforded by the automatic stay, and has been caused to employ the services of the

undersigned counsel to assist with prosecution of this matter.

                                    PRAYER FOR RELIEF

       WHEREFORE, THE PREMISES CONSIDERED, Plaintiff respectfully request this

Honorable Court to enter an Order:

       a.      Holding Defendant in contempt of this Court for violating the automatic stay

provisions of 11 U.S.C. § 362(a), and Order(s) entered by this Honorable Court, by virtue of

11 U.S.C. § 105(a);

       b.      Ruling that the automatic stay is not lifted pursuant to the Agreed Order

Conditionally Denying Motion for Relief from the Automatic Stay as to Defendant

Nationstar Mortgage, LLC, dba Mr. Cooper;

       c.      Ruling that Plaintiff is current in her post petition mortgage payments owed to

Defendant Nationstar Mortgage, LLC, dba Mr. Cooper, through December 2019

       d.      Enjoining Defendants from further attempts to collect upon said indebtedness

in the absence of the requisite relief;

       e.      awarding to Plaintiff and against Defendants actual, compensatory, and

punitive damages for Defendant’s violations of the automatic stay provisions of 11 U.S.C.

§362(a), by virtue of 11 U.S.C. §105 (a);

                                          Page 16 of 17


  Case 20-03003        Doc 1     Filed 01/27/20 Entered 01/27/20 08:47:45          Desc Main
                                  Document     Page 16 of 17
       f.      awarding to Plaintiff and against Defendants actual, compensatory, statutory

and punitive damages for their violations of 15 U.S.C. §1692, et seq., pursuant to 15 U.S.C. §

1692(k);

       g.      awarding to Plaintiff attorney fees, costs and expenses of this litigation, which

were necessitated by the wrongful action of Defendants, and for the present action, pursuant

to 11 U.S.C. §362(k); and

       h.      awarding such other and further relief as this Honorable Court deems

appropriate.



                                                    /s/ Paul D. Esco
                                                    PAUL D. ESCO ASB-3772-O61P
                                                    Attorney for Plaintiff/Debtor

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                                         Page 17 of 17


  Case 20-03003       Doc 1    Filed 01/27/20 Entered 01/27/20 08:47:45           Desc Main
                                Document     Page 17 of 17
